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CRIMINAL COURT OF THE CITY OF NEW YORK

coUNT;Y GF NEw YORK

PART AR 1`
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THE PEOPLE OF THE STATE OF NEW YORK
- against-
Docket No.:

2012NY024709

EDWIN§ALICEA

5 Defendant.
_____; __________________________________ X

100 Centre Street
New York, New York 10013
March 28, 2012

B E F_'O R _E:
HONORABLE MARC wHITEN, Judge

A P P'E A R A N C E S:
FOR THE PEOPLE
CYRUS R. VANCE, JR. ESQ.
District Attorney, New York County
One Hogan Place
New York, New York 10013
BY: ELIZABETH CLERKIN, ESQ-

FOR THE DEFENDANT .

NEW YORK COUNTY DEFENDER SERVICES
225 Broadway

New York, New»York 10013

BY: ZWI WASSERSTEIN, ESQ.

CAROL H. JAMES
Official Court Reporter.

 

 

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COURT OFFICER: Docket ending 409, Edwin Alicea.
defendant is charged with attempted tampering with physical

evidence.

MS. CLERKIN: On a plea to the charge, the People
recommend one day communify service.
MR. WASSERSTEIN: There is no interest.
THE COURT: Notices.
MS. CLERKIN: There are no notices. The People
consent to the defendant‘s release.
y THE COURT: lt appears it's a first party
complaint. Would you like a motion schedule?
MR. WASSERSTEIN: I would like a motion schedule
respectfully, Judge.
5 THE COURT: Defense motions by 4/24. Response and
decision, 6/23. Matter is adjourned to Part E and defendant
ia RoR’d.

(Continued on the next page.)

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MR. WASSSERSTEIN: Judge, 4/25 in Part E?

I don‘t want to try the Court's patience, but I
have to make a short record because this case is somewhat
unusual. My client is not charged with resisting arrest.
Mbreover, I must make a record that he has a bloody shirt,
shollen -- badly swollen arm, and I believe that there is a
pbssibility of police abuse in this case, and I needed to
make that record to preserve my client’s rights and remedies.

THE COURT: Thank you, you made your record.

tic ~k~k ink

I, Carol H. James, hereby certify that the above is

a§true and accurate copy of my stenographic notes.

OL H. JAMES
Official Court Reporter

 

 

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